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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
______________________________
                               )
ROWLAND J. MARTIN,             )
                               )
            Plaintiff,         )
                               )
            v.                 )   Civil Action No. 12-1281 (KBJ)
                               )
U.S. EQUAL EMPLOYMENT         )
OPPORTUNITY COMMISSION, )
ET AL.,                        )
                               )
            Defendants.        )
_____________________________ )


                               MEMORANDUM OPINION AND ORDER


        Presently before the Court are defendants G&A Outsourcing IV, LLC, (“G&A”) and

TALX Corporation’s (“TALX”) motions for reconsideration of the Court’s decision to permit the

pro se plaintiff in this employment discrimination action to file a second supplemental

complaint. 1 Approximately four months after service of the original complaint in this case,

plaintiff filed a second supplemental complaint along with a request for leave to file the new

pleading. Second Suppl. Compl. (ECF No. 28); Pl.’s Mot. (ECF No. 25), at 5. 2 The Court

summarily granted plaintiff leave to file this second supplemental complaint, see Minute Order

dated April 24, 2013 (“Let this be filed”), and defendants G&A and TALX now object to the

filing on the grounds that the new pleading “contains no factual allegations relevant to


1
  See Minute Order of Apr. 24, 2013 (construing defendants’ responses in opposition to plaintiff’s ECF No. 25 as
motions for reconsideration of the Court’s grant of leave to file a supplemental complaint).
2
  Neither of these pleadings has a descriptive title. Plaintiff’s second supplemental complaint is formally titled
“Supplement (Corrected) to the Amended Complaint.” Plaintiff’s request for leave to file a second supplemental
complaint is formally titled “Plaintiff’s Objections to Defendant Equal Employment Opportunity Commission’s
Affidavit Evidence and ‘Statement of Undisputed Material Facts’ and Rule 56(f) Motion to Deny Summary
Judgment”). For the reader’s convenience, these documents are hereinafter referenced and cited as “Second Suppl.
Compl.” and “Pl.’s Mot.,” respectively.

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[plaintiff’s] claims that occurred after his Original Complaint was filed on July 30, 2012, or after

his first Supplemental Complaint was filed on December 12, 2012.” Defs.’ Mots. at 3-4. 3

Moreover, the defendants argue that, to the extent the plaintiff’s second supplemental complaint

was intended to be filed as an “amended” complaint, the plaintiff did not file “a proper pleading

with the Court nor has he explained to the Court any legal or factual basis for [amendment].”

Defs.’ Mots. at 3-4. The Court recognizes that the second supplemental complaint varies from

the original in the some of the facts and counts alleged, and also that the second supplemental

complaint is largely based upon facts that predate the original complaint. Nevertheless, the

Court is not persuaded to reverse its “let this be filed” determination.

        Under Federal Rule of Civil Procedure 54(b), an interlocutory judgment—such as the

grant of leave to file the second supplemental complaint in this case—may be reconsidered “as

justice requires.” DeGeorge v. United States, 521 F. Supp. 2d 35, 39 (D.D.C. 2007); Cobell v.

Norton, 355 F. Supp. 2d 531, 539 (D.D.C. 2005). It is well established that “asking ‘what justice

requires’ amounts to determining, within the Court’s discretion, whether reconsideration is

necessary under the relevant circumstances.” Cobell, 355 F. Supp. 2d at 539.

        Nothing in the defendants’ submissions establishes that reconsideration is necessary in

this case. For example, the defendants do not contend that, in granting leave to file, the Court

misunderstood the plaintiff’s request or made a decision beyond the adversarial issues presented.

See DeGeorge, 521 F. Supp. 2d at 39. Nor do the defendants make any assertion that the law has

changed or that they will be harmed in any way as a result of the filing of the supplemental

pleading. See DeGeorge, 521 F. Supp. 2d at 39. Indeed, to the contrary, the defendants argue

that most of the additional facts alleged in the second supplemental complaint are “based on


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  The briefs filed by defendants G&A and TALX (ECF Nos. 29, 30) are identical in substance. They are hereinafter
referenced and cited as “Defs.’ Mots.”

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precisely the same transactions, occurrence, and events” as were set forth in the initial complaint.

Defs.’ Mots. at 3. This means, of course, that the defendants were already on notice of the

events alleged in the new complaint, and that granting leave to file the second supplemental

complaint has not harmed defendants due to surprise, inability to defend, or any other reason.

        It is also significant that a grant of leave to supplemental or amend a pleading is purely

discretionary, and that such leave is ordinarily “freely given.” Wildearth Guardians v.

Kempthorne, 592 F. Supp. 2d 18, 23 (D.D.C. 2008) (citing Willoughby v. Potomac Elec. Power

Co., 100 F.3d 999, 1003 (D.C. Cir. 1996)). Thus, any contention that the court applied the

wrong legal standard, or that the grant of leave to file a second supplemental complaint was itself

improper, is meritless. See DeGeorge, 521 F. Supp. 2d at 41 (leave to amend is proper when an

amended complaint cures deficiencies or alleges new facts or arguments that would give rise to a

cognizable cause of action). Moreover, when one views the grant of leave to file the second

supplemental complaint in this case in light of the fact that the plaintiff is a pro se litigant, the

propriety of the court’s exercise of its discretion to permit the filing here becomes even more

evident. See Stephenson v. Langston, 205 F.R.D. 21, 23 (D.D.C. 2001) (citing Moore v. Agency

for Int’l Dev., 994 F.2d 874 (D.C. Cir. 1993)); see also Wyant v. Crittendon, 113 F.2d 170, 175

(D.C. Cir. 1940) (leave to amend the complaint is particular appropriate when a plaintiff

proceeds pro se).

        For these reasons, the Court hereby DENIES both defendants’ requests for

reconsideration of the Court’s grant of leave to file the second supplemental complaint (ECF

Nos. 29 and 30), and the plaintiff’s second supplemental complaint (ECF No. 28) shall stand.

Any defendant who wishes to file a responsive pleading, or to supplement a responsive pleading




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already filed in this matter, shall do so within 21 days of the issuance of this opinion (e.g., by

July 1, 2013).

       SO ORDERED.

Date: June 10, 2013                                    ___________/s/_____________
                                                       KETANJI BROWN JACKSON
                                                       United States District Judge




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